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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


 HOME POINT FINANCIAL
 CORPORATION,

                   Plaintiff,

 v.                                               Case No. 6:20-cv-1819-CEM-EJK

 DONALD MARK LANE,
 CHRISTOPHER WILKINS,
 GUARANTY HOME
 MORTGAGE CORPORATION,
 and CANDACE ROBERTSON,

                   Defendants.


  THIRD AMENDED CASE MANAGEMENT AND SCHEDULING ORDER

       Pursuant to Federal Rule of Civil Procedure 16(b) and Local Rule 3.02(c), it

 is ORDERED that counsel and all parties, including pro se parties, shall comply

 with the following deadlines and instructions. The deadlines herein shall not be

 extended without Court approval.

  Action or Event                         Deadline
  Plaintiff’s expert report disclosure    MARCH 31, 2023
  Defendant’s expert report disclosure    MAY 1, 2023
  Rebuttal expert report disclosure       MAY 15, 2023
  Completion of discovery and motion to   JUNE 15, 2023
  compel discovery
  Dispositive and Daubert motions         SEPTEMBER 1, 2023
  Mediation                               JULY 31, 2023



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  Joint pretrial meeting                  NOVEMBER 20, 2023
  Filing of the joint final pretrial      JANUARY 15, 2024
  statement; any other motions, including
  motion in limine; jointly proposed jury
  instructions and jointly proposed
  verdict form
  Trial Status Conference                 JANUARY 18, 2024, at 10:00 AM in
                                          Courtroom 5B
  Trial Term                              MARCH 2024

       DONE and ORDERED in Orlando, Florida on September 14, 2022.




 Copies furnished to:

 Counsel of Record




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